










TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN




NO. 03-08-00128-CR





Clive Carson Peacock, Appellant

v.

The State of Texas, Appellee




FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT
NO. 57639, HONORABLE JOE CARROLL, JUDGE PRESIDING




M E M O R A N D U M    O P I N I O N
&nbsp;
In January 2006, appellant Clive Carson Peacock pleaded guilty to felony
driving&nbsp;while intoxicated.  See Tex. Penal Code Ann. § 49.04(a) (West 2003), § 49.09(b)(2)
(West&nbsp;Supp.&nbsp;2007).  Following the plea bargain, the district court assessed punishment at
five&nbsp;years’&nbsp;imprisonment, suspended imposition of sentence, and placed appellant on community
supervision for ten years.  In January 2008, after a hearing on the State’s motion to revoke, the court
revoked supervision and imposed sentence.  We affirm this order.
Appellant contends that the trial court abused its discretion when it imposed  sentence
by considering an alleged violation of the conditions of supervision that was not proved by the State. 
The motion to revoke alleged that appellant:  (1) committed a subsequent offense by intentionally,
knowingly, or recklessly causing bodily injury to Mary Jane Buswell, a member of his family or
household, by striking her about the head and face; and (2) failed to abstain from the use of alcoholic
beverages.  At the revocation hearing, appellant pleaded true to the second allegation and
not&nbsp;true&nbsp;to&nbsp;the first.
&nbsp;Nolanville Police Officer William Chandler testified that he was dispatched to
appellant’s residence for “a violent domestic in progress.”  On his way, he was notified that Buswell,
who the officer knew from prior contacts, was at another location.  Chandler went to this other
address and found Buswell crying and frantic.  She had small cuts on her face, and blood on her face
and body.  Particles of food were in her hair.  She appeared to have been drinking.  Chandler then
went to appellant’s residence and spoke to him.  Appellant had spots of blood on his pants, and he
appeared to have been drinking.  The house was in disarray, and the officer found a plate with blood
and hair on it.  When Chandler asked about Buswell’s injuries, appellant said that “a plate might
have hit Ms. Buswell over the head and after she had made him mad.”  Asked if Buswell lived with
appellant, Chandler answered, “As far as my knowledge, yes, ma’am.”
At the conclusion of the hearing, the court announced that it found that appellant had
consumed alcoholic beverages and had recklessly caused bodily injury to a family member.  One
month later, after receiving a presentence report and hearing testimony by appellant’s daughter, the
court imposed the five-year prison term originally assessed.
Appellant’s plea of true to the allegation that he failed to abstain from the use of
alcoholic beverages was sufficient to prove that alleged violation.   See Cole v. State, 578 S.W.2d
127, 128 (Tex. Crim. App. 1979).  Proof of a single violation is sufficient to support a revocation
order.  Sanchez v. State, 603 S.W.2d 869, 871 (Tex. Crim. App. 1980).  Appellant therefore does not
contend that the evidence fails to support the court’s decision to revoke his supervision.  Instead, he
argues that the assault allegation was not proved and that the court should not have considered it at
the sentencing proceeding.  Appellant asserts that the State failed to prove that he acted recklessly,
that Buswell suffered a bodily injury, or that Buswell was a member of his family or household. 
Whether or not the State proved that Buswell was a member of appellant’s family or
household, the evidence is clearly sufficient to support a finding that appellant struck Buswell on the
head with a dinner plate, cutting her face.  In assessing punishment, the trial court may consider any
matter it deems relevant to sentencing, including other crimes or bad acts by the defendant. 
Tex.&nbsp;Code Crim. Proc. Ann. art. 37.07, § 3(a)(1) (West Supp. 2007).  If the court considered
appellant’s conduct on the night in question at the sentencing hearing, there was no error.
The sole issue is overruled, and the order revoking community
supervision&nbsp;is&nbsp;affirmed.&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;___________________________________________
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Jan P. Patterson, Justice
Before Justices Patterson, Puryear and Henson
Affirmed
Filed:   June 20, 2008
Do Not Publish


